        Case 1:01-cv-12257-PBS Document 6594 Filed 10/16/09 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                                )
IN RE PHARMACEUTICAL                            )   MDL No.1456
INDUSTRY AVERAGE                                )
WHOLESALE PRICE LITIGATION                      )   Master File No. 01-CV-12257-PBS
                                                )   Subcategory No. 06-CV-11337-PBS
                                                )
                                                )   Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                       )
U.S. of America ex rel. Ven-A-Care              )   Magistrate Judge Marianne B. Bowler
of the Florida Keys, Inc., et al. v.            )
Boehringer Ingelheim Corporation, et al.,       )
Civil Action No. 07-10248-PBS                   )
                                                )


              THE ROXANE DEFENDANTS’ UNOPPOSED MOTION
        FOR LEAVE TO FILE A REPLY IN SUPPORT OF THEIR MOTION
      FOR A FINDING OF SPOLIATION OF EVIDENCE AND FOR SANCTIONS

       Defendants Boehringer Ingelheim Roxane, Inc., Roxane Laboratories, Inc., Boehringer

Ingelheim Corp., and Boehringer Ingelheim Pharmaceuticals, Inc. (collectively “Defendants”)

respectfully move the Court for leave to file a reply in support of their Motion for a Finding of

Spoliation of Evidence and for Sanctions (Dkt. No. 6254).          Defendants believe a reply

memorandum, in response to the United States’ Opposition to Defendants’ Motion for a Finding

of Spoliation and for Sanctions (Dkt. No. 6388), will assist in defining the issues requiring the

Court’s resolution. The United States does not oppose Defendants’ request. A copy of the

proposed brief is attached as Exhibit 1.
       Case 1:01-cv-12257-PBS Document 6594 Filed 10/16/09 Page 2 of 3




Dated: October 16, 2009                Respectfully submitted,


                                       /s/ Eric T. Gortner
                                       Helen E. Witt, P.C.
                                       Anne M. Sidrys, P.C.
                                       Eric T. Gortner
                                       John W. Reale
                                       KIRKLAND & ELLIS LLP
                                       300 North LaSalle Street
                                       Chicago, IL 60654
                                       Telephone:     (312) 862-2000
                                       Facsimile:     (312) 862-2200
                                       Counsel for Defendants
                                       Boehringer Ingelheim Corp.,
                                       Boehringer Ingelheim Pharmaceuticals, Inc.,
                                       Boehringer Ingelheim Roxane, Inc., and
                                       Roxane Laboratories, Inc.




                                     -2-
         Case 1:01-cv-12257-PBS Document 6594 Filed 10/16/09 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was delivered to all counsel of

record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by

sending on October 16, 2009, a copy to LexisNexis File and Serve for posting and notification to

all parties.


                                                     /s/ Eric T. Gortner
                                                             Eric T. Gortner
